                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                              )
JOHN FOOTEN,                                  )
                                              )
            Plaintiff                         )
                                              )
v.                                            )
                                              )          Civil Action No.: 1:12-CV-11575-FDS
CHIME MEDIA, LLC and                          )
GEORGE O’CONOR,                               )
                                              )
            Defendants                        )
                                              )

                               STIPULATION OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1), all parties hereby stipulate and agree that the above
entitled action shall be dismissed without prejudice. All parties agree to bear their own costs and
fees. All rights of appeal are hereby waived by all parties.

Dated: December 17, 2012                                 Respectfully submitted,

                                                         /s/ Charles F. Rodman
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                                                         /s/ Melissa H. Davis
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing Stipulation of Dismissal
was served upon the attorney of record for all parties who have appeared in this action via the
Court’s electronic filing system on December 17, 2012.

                                                     /s/ Nieve Anjomi
                                                     Nieve Anjomi




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